            Case 3:14-cr-00020-N          Document 83         Filed 06/24/14       Page 1 of 1       PageID 186
                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION DIVISI01'r---u-r.-s-.D-:-s,-n-.iJ-C_I_C_O_l?-
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                                                                                  NORTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA                                  §
                                                          §
v.                                                        §    CASE NO.: :14-CR-       020-N         ,
                                                          §                                 JJN 2 1l 2014
CLAUDIA GONZALEZ (9)                                      §
                                                                                 CLERK, U.S. DlSTRI            T
                                        REPORT AND RECOMMENDA IONBY-----~t--­
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                                         CONCERNING PLEA OF GUI

        CLAUDIA GONZALEZ (9), by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) 4 of the
Indictment After cautioning and examining CLAUDIA GONZALEZ (9) under oath concerning each of the subjects
mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged
is supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that CLAUDIA GONZALEZ (9) be adjudged guilty of 8 USC §
1325(c) and 18 USC§ 2 Marriage Fraud; Aiding and Abetting and have sentence imposed accordingly. After being found
guilty of the offense by the district judge,

0       The defendant is currently in custody and should be ordered to remain in custody.

        The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

                The Government does not oppose release.
                The defendant has been compliant with the current conditions of release.
                I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under § 3145(c) why the defendant should not be detained, a (2) the Court finds by clear and convincing
        evidence that the defendant is not likely to flee or pose a dange to ny other person or the community if released.

Date:   June 24, 2014


                                                                            TATES MAGISTRATE JUDGE

                                                        NOTICE

         Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of
its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
